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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

DALE ALEXANDER,

               Plaintiff,

v.                                                    Civil Action Number:        2:25-cv-332


CORRECTIONAL OFFICER JOHN WILSON

               Defendant.


                                           COMPLAINT

       Comes now the Plaintiff, Dale Alexander, by and through counsel, Stroebel & Stroebel,

P.L.L.C., and for his Complaint against the above-named Defendant, states as follows:

       1.      Plaintiff, Dale Alexander

Virginia that was incarcerated at the Mount Olive Correctional Center                   MOCC

West Virginia. Plaintiff affirmatively states that he has exhausted his administrative remedies.

       2.      West Virginia Division of Corrections and Rehabilitation (hereinafter




Virginia.

       3.      Defendant, Correctional Officer John Wilson, was employed by the Defendant

West Virginia Division of Corrections and Rehabilitation as a correctional officer at

MOCC. Plaintiff alleges that Defendant Wilson used excessive force against plaintiff by spraying

Plaintiff with O.C. spray while Plaintiff was not a threat to himself or others. Defendant Wilson

was acting under the color of state law at all times relevant herein.
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       4.      The willful and intentional acts of Defendant Wilson resulted in plaintiff being

injured. Plaintiff further asserts that he is seeking damages up to an amount commensurate with

the amount of insurance coverage when and if applicable to the claims made herein. Plaintiff is

not asserting a 42 U.S.C. § 1983 claim against the WVDCR, nor is he asserting a claim for punitive

damages against the state agency. Defendant Wilson is being sued in his individual capacity.

       5.      All events and occurrences alleged herein occurred in the State of West Virginia.

                                           FACTS
       6.      Plaintiff incorporates by reference and realleges each and every allegation

contained in Paragraphs 1 through 5 as if set forth herein.

       7.      At all times relevant herein, Plaintiff was an inmate at MOCC.

       8.      On or about June 15, 2023, Plaintiff was in his cell at MOCC. Plaintiff was



came over to speak with him. Plaintiff and Defendant Wilson got into an argument over the write

up and Defendant Wilson started to walk away. At this point, Plaintiff hit the wall of his cell.

Defendant Wilson                                                                food tray slot and

spraying Plaintiff multiple times without any warning or further communication. After Plaintiff

was removed from his cell, Defendant Wilson ran Plaintiff into a door frame as a way to further

punish/inflict pain on Plaintiff. As a result of Plaintiff being sprayed with O.C. spray, Plaintiff

suffered serious physical injury including but limited to severe burning of his skin and face and

trouble breathing.

       9.

policy and procedure which addresses the duty to protect inmates from harm as well as the use of

force policy adopted by the WVDOCR.                                             ght to be free from

excessive physical force in violation of the Eighth Amendment to the United States
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Constitution. At no time was plaintiff a threat to the defendant and at no time did plaintiff threaten

the defendant.

                       COUNT I - VIOLATION OF 42 USC §1983/EXCESSIVE
                         FORCE/CRUEL AND UNUSUAL PUNISHMENT

          10.    Plaintiff realleges and incorporates paragraphs 1 through 9 above as if fully set forth

herein.

          11.    Defendant Wilson unnecessarily and without warning sprayed Plaintiff with O.C.

spray when Plaintiff was not a danger to himself or anyone else. This conduct was unwarranted,

unnecessary and unjustified. Defendant Wilson s actions were done to Plaintiff with the intent to

inflict unnecessary harm and humiliation, embarrassment, pain and emotional distress upon him

and were carried out under the color of the law of the State of West Virginia. The conduct

described herein deprived plaintiff of his rights and privileges under the Constitution of the United

States of America.

unconstitutional nature of the excessive force as well as the malicious intent.

          12.    The use of force on Plaintiff when he posed no threat to himself or others was a



free from unreasonable intrusions on his bodily integrity. Defendant Wilson s use of excessive

force was cruel and unusual punishment. This cruel and unusual punishment was carried out

without any just cause and was completely unwarranted. Correctional Officers such as the

defendant receive training that identifies such con

rights. The failure to make any effort to temper is further evidence of Defendant Wilson s

malicious conduct.

          13.    The conduct of Defendant Wilson was so egregious and outrageous, so as to
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the Eighth Amendment. Further, Defendant Wilson s acts, as set forth herein, were done while



constitutional rights. Defendant Wilson would have known that his conduct was a violation of

                                                    his training.

       14.     As a result of this conduct, Plaintiff suffered serious physical injury, including but

not limited to, severe burning from the OC spray and trouble breathing. Plaintiff also suffered

severe mental anguish, embarrassment, humiliation and physical injury and has otherwise been




fees and costs pursuant to 42 U.S.C.§ 1988.

       WHEREFORE, for the reasons set forth in this Complaint, and for such other and further

reasons as are apparent to this Honorable Court, Plaintiff respectfully requests that judgment be

entered in favor of the Plaintiff and against the Defendant and requests that the Court award

damages including, but not limited to, physical injury, medical expenses, past and future medical

expenses, damages for emotional and mental distress and punitive damages, court costs, pre-

judgment interest, post-judgment interest, a

       PLAINTIFF DEMANDS A TRIAL BY JURY.


                                                      DALE ALEXANDER,
                                                      By Counsel,


                                                      /s/ Paul Stroebel__________
                                                      Paul E. Stroebel, Esquire (WV BAR 13269)
                                                      Stroebel & Stroebel, P.L.L.C.
                                                      P.O. Box 2582
                                                      Charleston, WV 25329
